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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

EMPOWER OVERSIGHT                                 )
WHISTLEBLOWERS & RESEARCH,                        )
                                                  )
                        Plaintiff,                )
                                                  )       Case No. 1:21-cv-1275 (LMB/JFA)
       v.                                         )
                                                  )
NATIONAL INSTITUTES OF HEALTH,                    )
                                                  )
                        Defendant.                )
                                                  )
                                                  )

                DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

       Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 56, Defendant National

Institutes of Health, through undersigned counsel, hereby respectfully submits this Motion for

Summary Judgment, the grounds for which are specified in the accompanying memorandum of law.

 Dated: June 10, 2022                                  Respectfully submitted,

                                                       JESSICA D. ABER
                                                       UNITED STATES ATTORNEY

                                                       By:             /s/
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